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           Handling Coronavirus In Federal
           Prison
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           The coronavirus, identified by the Center for Disease Control as COVID-19,
           spreading and has rapidly become a priority for nations around the world.
           While the common influenza strains are responsible for tens of thousands o
           deaths each year, coronavirus has had a profound effect on our social
           interactions. Countries, including the United States, are taking measures to
           prevent the spread of the disease and the White House is holding daily
           briefings and events related to the government’s efforts. Outbreaks of
           diseases like this are even more difficult to manage in closed environments,
           like prisons. So what’s the plan?




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           Prison interior. Jail cells and shadows, dark background. 3d illustration   GETTY




           Inmates live in close proximity to one another. In federal prison camps,
           inmates are housed in an open dorm layout that is sectored into 2-man livin
           quarters, similar in size to office cubicles ... except for the concrete walls.
           Each cubicle has a bunk bed, a writing desk/chair (usually bolted to the
           floor) and two lockers. Outbreaks of influenza and stomach virus are a
           constant concern in this population who also share toilet and shower
           facilities. “People in prison can only quarantine themselves so much and sta
           have no choice but to keep themselves in some contact with every inmate no
           matter how ill they might be,’’ Jack Donson, a former BOP case specialist,
           told me.

           The BOP has a standard protocol for handling common influenza, most
           notably reminders for everyone, staff and inmates, to wash their hands and
           avoid shaking hands. It should be noted that the act of shaking hands is very
           much an integral part of inmate programming where they are taught social
           interaction skills, something meant to serve them well beyond prison.

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           Inmates who become ill, may be grouped with other inmates who have the
           flu so as to keep it from spreading throughout the prison compound. The
           inmates are limited in the areas in which they can move and also could be fe
           in a separate area. It can be an even more confining environment. In the
           event some inmates develop high fever or symptoms that institutions canno
           treat, they are transferred to local hospitals.

           When inmates are transferred to local healthcare facilities, families may be
           notified that the person is being treated outside of the prison but family visi
           to the hospital are not normally allowed according to Donson. Families, who
           already receive little information on their incarcerated relatives, may have



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           even less communication if hospitalization becomes a reality. In a hospital
           there is no inmate email (Corrlinks), no secured phone service and no way t
           receive mail.

           In 2017, the Federal Bureau of Prisons dealt with another outbreak that
           caused a national health scare, Zika virus. Zika is a virus transmitted
           primarily through the bite of an infected mosquito. The BOP’s primary
           concern was for pregnant inmates who could pass on the virus to their
           unborn fetus causing birth defects.

           However, there is growing hysteria around coronavirus that is particularly
           problematic for prisons. “The BOP has been understaffed for years and
           keeping those incarcerated calm is of utmost importance,” Donson said. At
           any given prison camp, where over 16% of all federal prisoners are held,
           there are less than a handful of corrections officers overseeing hundreds of
           inmates. Many administrators at a prison, including secretaries, health
           officials, and educators, double as corrections officers. Inmates, like the
           general public, are watching network news and see the issues that are facing
           the country on controlling the outbreak. “They are just as scared at what can
           happen as anyone,” Donson observed, “and when there is nowhere to go, it i
           bound to raise anxiety.”

           Every federal prison location has a contingency plan for emergencies. As
           coronavirus concern spreads in advance of the actual infection, the BOP is
           likely going through a protocol to handle this crisis. “The BOP has
           procedures to address most any emergency situation,” Donson said, “but
           carrying it out is always a challenge for large government organizations,
           especially the BOP.”

           In a federal prison camp, some inmates have direct contact with the
           community, even running errands in support of prison staff. “In the event o




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           an outbreak of coronavirus in a prison,” Donson said, “it is likely the prison
           would stop all interaction with the community.”

           Concern would not be limited to inmates. Prison staff, concerned for their
           own safety, could call off from work, creating a shortage of staff in a tense
           situation. If an outbreak were to occur, sick inmates would be transferred to
           hospitals or treatment centers requiring even more staff for supervision. It
           could be a compounded problem if labor is short and demand for supervisio
           increases. “The BOP has to have a crisis plan beyond what is normal protoco
           here,” said Donson.

           Iran reportedly took a drastic measure to avoid a coronavirus infection in
           prisons when the government released over 50,000 prisoners. Those
           released had to test negative for the virus, have less than 5 years to serve and
           be able to post bail. There are currently more than 175,000 federal inmates
           who are anxiously waiting to see how the BOP handles this looming crisis.

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